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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


DENIS MARC AUDET, et al.,                         Civil Action No. 3:16-cv-00940

                              Plaintiffs,         Honorable Michael P. Shea

                     vs.

STUART A. FRASER, GAW MINERS,                     June 13, 2018
LLC, and ZENMINER, LLC,

                              Defendants.

        AFFIRMATION OF SARAH L. CAVE IN SUPPORT OF DEFENDANT
           STUART A. FRASER’S MOTION TO COMPEL DISCOVERY

             I am a partner at firm Hughes Hubbard & Reed LLP, counsel of record for

  Defendant Stuart A. Fraser (“Fraser”) in this action, and I am fully familiar with the facts and

  circumstances in this case. I submit this affirmation in support of the accompanying motion

  to compel discovery, which seeks an order directing Plaintiffs to produce contemporaneous

  notes taken by Plaintiffs’ representative during the October 2016 meeting with former

  defendant Homero Joshua Garza (“Garza”).

             On December 1, 2015, the Securities & Exchange Commission (“SEC”) filed a

  complaint against Garza and the companies GAW Miners LLC and Zen Miner LLC in the

  District Court for the District of Connecticut. SEC v. Garza et al, No. 15 Civ. 1760 (JAM)

  (ECF No. 1). On February 7, 2017, in answer to the SEC’s complaint against him, Garza

  invoked his Fifth Amendment rights. Id. (ECF No. 36). On October 4, 2017, the court

  entered an order of final judgment approving a settlement between Garza and the SEC. Id.

  (ECF No. 45).

             In the meantime, on July 20, 2017, the United States Attorney charged Garza with

  one count of wire fraud in violation of 18 U.S.C. § 1343 in the District Court for the District
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of Connecticut. United States v. Garza, No. 17 Cr. 158 (RNC) (ECF No. 1). That same day,

Garza pled guilty. Id. (ECF No. 25). His sentencing is currently scheduled for September

13, 2018. Id. (ECF No. 30).

           On November 29, 2017, Fraser served Plaintiffs with his first set of document

requests. Fraser’s first set of document requests includes a request for “[a]ll statements given

by Garza to You or any representatives, associates, agents or any other person acting on Your

behalf, and any notes or documents produced as a result of Garza’s statements from July 1,

2013 and continuing to the present.” Fraser’s First Set of Requests for Production to

Plaintiffs is attached as Exhibit A. In Plaintiffs’ written responses dated December 29, 2017,

attached as Exhibit B, Plaintiffs objected to producing the Garza Notes. Fraser sent Plaintiffs

letters on this issue dated January 17, 2018 and February 21, 2018. A copy of Fraser’s

January 17, 2018 letter to Plaintiffs is attached as Exhibit C, and a copy of Fraser’s February

21, 2018 letter to Plaintiffs is attached as Exhibit D.

           On March 19, 2018 and April 26, 2018, I discussed this issue by phone with

Plaintiffs’ counsel Colin Watterson, but we were unable to resolve the dispute. On May 21,

2018, pursuant to Judge Shea’s Instructions for Discovery Disputes, the parties jointly called

Judge Shea’s Chambers, at which time the Court instructed the parties to submit two-page

letters describing their respective positions. On May 25, 2018, the matter was referred to this

Court, (ECF Nos. 78 & 79), and on June 4, 2018, the Court ordered the parties to submit

briefs supporting their respective positions. (ECF No. 80.)

           On June 5, 2018, the parties exchanged privilege logs. On their privilege log,

Plaintiffs listed the Garza Notes as entries 3016 and 3017, and the email transmission of the

Garza Notes by Plaintiff Shinners to non-party Mark Munster as entry 3022, as follows:



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            On May 1, 2018, Fraser, through a process server, attempted to serve Garza with a

document subpoena at a Texas address. That subpoena is attached hereto as Exhibit E.

            On May 2, 2018, Fraser, again through a process server, attempted to serve Garza

with the subpoena at a Vermont address. That subpoena is attached hereto as Exhibit F.

            Both attempts to serve Garza with subpoenas were unsuccessful. The affidavit of

non-service for the Texas address is attached as Exhibit G, and the affidavit of non-service

for the Vermont address is attached as Exhibit H.

            On March 15, 2018, my colleague, Marc Weinstein, telephoned Garza’s criminal

counsel to ask if she would accept service of a subpoena on Garza’s behalf. Garza’s counsel

stated that she would check with Mr. Garza, but she did not provide an answer.

            Through interrogatories served on May 21, 2018, Fraser asked Plaintiffs for

Garza’s last known address, to which Plaintiffs have not yet responded. Fraser’s First Set of

Interrogatories to Plaintiffs is attached hereto as Exhibit I.

            Plaintiffs have served Garza with a Notice of Deposition, but a date for Garza’s

deposition has not been confirmed.

            Fraser has not been criminally charged nor has the SEC brought any action

against him.




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I, Sarah L. Cave, hereby declare under penalty of perjury that the foregoing is true and correct.

Dated: June 13, 2018

                                                     Respectfully submitted,


                                                     By: /s/ Sarah L. Cave


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